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             6
             7       Attorneys for Plaintiff
                     FOREMOST GROUPS, INC. f/k/a FOREMOST
             8       INTERNATIONAL TRADING CO., INC.

             9                                  UNITED STATES DISTRICT COURT

           10                               CENTRAL DISTRICT OF CALIFORNIA

           11
                     FOREMOST GROUPS, INC. f/k/a                      Case No. CV11-7473 GAF (Ex)
           12        FOREMOST INTERNATIONAL                           Hon. Gary A. Feess
                     TRADING CO., INC.,                               Courtroom 740
           13
                                   Plaintiff,                         NOTICE OF MOTION AND MOTION
           14                                                         FOR ORDER MODIFYING
                            vs.                                       DECEMBER 20, 2011 ORDER ON
           15                                                         PRELIMINARY INJUNCTION TO
                     AYERS BATH (USA)                                 VACATE PORTION OF ORDER
           16        CORPORATION,                                     REQUIRING POSTING OF
                                                                      PRELIMINARY INJUNCTION
           17                                                         BOND; MEMORANDUM OF POINTS
                                   Defendant.
                                                                      AND AUTHORITIES
           18
                                                                      Hearing Date:     December 15, 2014
           19                                                         Hearing Time:     9:30 a.m.
                                                                      Hearing Location: Courtroom 740
           20
                     AYERS BATH (USA)
           21        CORPORATION
           22
                                   Counter-claimant,
           23
                            vs.
           24
           25        FOREMOST GROUPS, INC. f/k/a
                     FOREMOST INTERNATIONAL
           26        TRADING CO., INC.,
           27                      Counter-defendant.
           28

ACTIVE/ 77440510.1
                      NOTICE OF MOTION AND MOTION FOR ORDER MODIFYING DECEMBER 20, 2011 ORDER ON PRELIMINARY INJUNCTION TO
                                     VACATE PORTION OF ORDER REQUIRING POSTING PRELIMINARY INJUNCTION BOND
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             1             PLEASE TAKE NOTICE that on December 15, 2014 at 9:30 a.m., or at
             2       such other time as the Court may consider this motion, Plaintiff Foremost Groups,
             3       Inc. f/k/a Foremost International Trading Co., Inc. (collectively “Foremost” or
             4       “Plaintiff”) will move before the Hon. Gary A. Fees for an order modifying the
             5       Order on preliminary injunction issued December 20, 2011[Docket No. 32] to
             6       vacate the portion of the Order requiring Plaintiff to post a preliminary
             7       injunction bond.
             8             This motion will be made on the ground that there has been a change of
             9       circumstances that obviate the need for the preliminary injunction bond, and will
           10        be based on this Notice of Motion and Motion and the accompanying
           11        Memorandum of Points and Authorities. A proposed Order is also
           12        submitted herewith.
           13
           14        DATED: November 11, 2014                     DRINKER BIDDLE & REATH LLP
           15
           16                                                     By:/s/ William A. Hanssen
           17                                                        William A. Hanssen

           18                                                         Attorneys for Plaintiff
                                                                      FOREMOST GROUPS, INC.. f/k/a
           19                                                         FOREMOST INTERNATIONAL
                                                                      TRADING CO., INC.
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ACTIVE/ 77440510.1                                                     2
                      NOTICE OF MOTION AND MOTION FOR ORDER MODIFYING DECEMBER 20, 2011 ORDER ON PRELIMINARY INJUNCTION TO
                                     VACATE PORTION OF ORDER REQUIRING POSTING PRELIMINARY INJUNCTION BOND
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             1                     MEMORANDUM OF POINTS AND AUTHORITIES
             2                     I.   INTRODUCTION AND FACTUAL SUMMARY
             3              On December 20, 2011, this Court properly enjoined Defendant Ayers Bath
             4       (USA) Corporation (“Ayers” or “Defendant”) from selling, distributing and/or
             5       offering for sale any and all Tangshan Huida Ceramic Group Co., Ltd. (“Huida”)
             6       bathroom vitreous china and/or porcelain and sanitary ware parts and products,
             7       including but not limited to toilets and kitchen and bathroom sinks, in the United
             8       States and Canada in violation of Foremost’s exclusive distribution agreement (the
             9       “Preliminary Injunction Order”) [Docket No. 32].
           10               In paragraph 4 of the Preliminary Injunction Order, this Court required
           11        Foremost to post security in the amount of $100,000 pursuant to Rule 65(c) of the
           12        Federal Rules of Civil Procedure (the “Federal Rules”). Foremost posted the
           13        security and filed the undertaking for the preliminary injunction bond (the “Bond”)
           14        on January 12, 2012 [Docket No. 35]. The Bond has remained in place since
           15        that date.
           16               On March 22, 2013 (the “Petition Date”), Ayers filed a voluntary petition
           17        (“Petition”) under chapter 7 of title 11 of the United States Code (the “Bankruptcy
           18        Code”) in the United States Bankruptcy Court for the Central District of California
           19        (the “Bankruptcy Court”).
           20               On March 25, 2013, this Court entered an Order removing this action from
           21        the Court’s active caseload until further application by the parties or Order of
           22        this Court.
           23               Albert H. Siegel, the court-appointed Chapter 7 Trustee for the bankruptcy
           24        estate of the Debtor (the “Trustee”), is not operating Ayer’s business but merely
           25        liquidating the bankruptcy estate. Currently, the Trustee and his accountants are
           26        investigating the state of Ayers’s financial affairs and identifying all available
           27        assets of Ayers with the aim of maximizing the value of the bankruptcy estate.
           28


ACTIVE/ 77440510.1                                                1
                                                 MEMORANDUM OF POINTS AND AUTHORITIES
         Case 2:11-cv-07473-GAF-E Document 60 Filed 11/11/14 Page 4 of 6 Page ID #:553



             1             Given that Ayers has ceased all operations and will no longer exist following
             2       the liquidation of the bankruptcy estate, Foremost requests that this Court vacate
             3       that portion of the Preliminary Injunction Order requiring the posting of the Bond.
             4                                       II.    ARGUMENT
             5             A.       This Court has Discretion to Revise its Orders to Afford the
             6                      Parties Relief in Light of Changed Circumstances.
             7             A district court retains jurisdiction to modify the terms of its injunctions in
             8       the event that a change in circumstances requires it. See Anderson v. Central Point
             9       High School District No. 6, 746 F.2d 505, 507 (9th Cir. 1984) (citing Fed. R. Civ.
           10        P. 60); see also Taylor v. Chiang, No. CIV. S-01-2407 WBS-GGH, 2007 WL
           11        3049645, at *2 (E.D. Cal. Oct. 18, 2007) (“Once a preliminary injunction is issued,
           12        district courts have ‘wide discretion’ to modify it …. A district court retains the
           13        power to modify a preliminary injunction at any time upon the consideration of
           14        new facts.”) (internal quotations and citations omitted).
           15              This Court by the Preliminary Injunction enjoined Ayers Bath from
           16        continuing to violate Foremost’s exclusive distribution agreement through its sale
           17        and distribution of Huida products in the United States and Canada. In exchange
           18        for the relief granted, this Court ordered Foremost to post the bond. Ayers’s
           19        cessation of operations, bankruptcy and pending liquidation are significant
           20        changed circumstances justifying modification to the Preliminary Injunction Order
           21        to remove the bond requirement. Accordingly, this Court has discretion under
           22        Rule 60(b)(6) of the Federal Rules to modify its original order and dissolve that
           23        portion of the Preliminary Injunction Order requiring the posting and maintaining
           24        of the Bond.
           25        ///
           26        ///
           27        ///
           28

ACTIVE/ 77440510.1                                                2
                                                 MEMORANDUM OF POINTS AND AUTHORITIES
         Case 2:11-cv-07473-GAF-E Document 60 Filed 11/11/14 Page 5 of 6 Page ID #:554



             1             B.       As Ayers Bath is No Longer in Business, A Preliminary
             2                      Injunction Bond is not Required.
             3             The Ninth Circuit interprets Rule 65(c) of the Federal Rules as “invest[ing]
             4       the district court with discretion as to the amount of security required, if any.”
             5       Jorgensen v. Cassidy, 320 F.3d 906, 919 (9th Cir. 2003) (emphasis in original)
             6       (internal quotations and citations omitted). Where there can be no actual damages
             7       incurred or suffered by a party who is found to have been wrongfully enjoined or
             8       restrained, Rule 65(c) requires any bond to be set at zero or a nominal amount. Id.
             9       (“The district court may dispense with the filing of a bond when it concludes there
           10        is no realistic likelihood of harm to the defendant from enjoining his or her
           11        conduct.”) (internal citation omitted); see also Barahona–Gomez v. Reno, 167 F.3d
           12        1228, 1237 (9th Cir. 1999) (affirming district court’s limiting bond to nominal
           13        amount where “any cost to the government, in the event it is found to have been
           14        wrongfully enjoined, would be minimal.”).
           15              In this case, given that it is no longer in business and is in the process of
           16        liquidating, Ayers cannot show that it would incur or suffer any damages by virtue
           17        of the wrongful enjoinment of its sale and distribution of Huida products. Because
           18        there is no longer any likelihood of harm to Ayers from enjoining its conduct, the
           19        portion of the Preliminary Injunction Order establishing the Bond should
           20        be vacated.
           21                                          III.   Conclusion
           22              For the above reasons, Foremost requests this Court to vacate that portion of
           23        the Preliminary Injunction Order establishing a preliminary injunction bond
           24        of $100,000.
           25        ///
           26        ///
           27        ///
           28

ACTIVE/ 77440510.1                                                3
                                                 MEMORANDUM OF POINTS AND AUTHORITIES
         Case 2:11-cv-07473-GAF-E Document 60 Filed 11/11/14 Page 6 of 6 Page ID #:555



             1       Dated: November 11, 2014             DRINKER BIDDLE & REATH LLP
             2
             3                                            By: /s/ William A. Hanssen
                                                             William A. Hanssen
             4                                               Suzanne V. Stouder
             5
                                                                Attorneys for Plaintiff
             6                                                  FOREMOST GROUPS, INC. f/k/a
             7
                                                                FOREMOST INTERNATIONAL
                                                                TRADING CO., INC.
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ACTIVE/ 77440510.1                                          4
                                           MEMORANDUM OF POINTS AND AUTHORITIES
